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USDC KYWD - Notice Of Deficiency (Rev. 1/09)




                                                United States District Court
                                                Western District of Kentucky
                                                       at Louisville
                                                    NOTICE OF DEFICIENCY

TO:                                            Edward P. Rogers, # 267107

CASE #:                                        3:18-cv-691-CRS

STYLE OF CASE:                                 Rogers v. Luther Luckett Correctional Complex et al

DOCUMENT TITLE:                                Summons Missing and/or Incomplete

DATE:                                          10/23/2018

BY:                                            V. Sill
                                               DEPUTY CLERK


Please be advised that the recent filing of the above cited document with the Clerk's
Office is deficient as indicated below:
SUMMONS. Plaintiff is required to prepare a Summons to be served upon each defendant.
(Fed.R.Civ.P. 4)

Complete a Summons for each defendant with name address, and return to the Clerk for issuance.
DO NOT send Summons to the defendant(s). (Summons form(s) attached).

YOU ARE GRANTED 30 DAYS FROM THIS DATE TO REMEDY THE DEFICIENCY OR
DEFICIENCIES IDENTIFIED ABOVE.  FAILURE TO COMPLY WITHIN 30 DAYS,
WITHOUT GOOD CAUSE SHOWN, WILL RESULT IN THIS MATTER BEING BROUGHT
TO THE ATTENTION OF THE COURT
